

Matter of Roslyn J. v Charise J. (2022 NY Slip Op 03075)





Matter of Roslyn J. v Charise J.


2022 NY Slip Op 03075


Decided on May 10, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 10, 2022

Before: Webber, J.P., Singh, Moulton, Kennedy, Rodriguez, JJ. 


Docket No. G-01926-21 G-01927-21 Appeal No. 15897 Case No. 2021-01481 2021-01499 

[*1]In the Matter of Roslyn J., Petitioner-Appellant, 
v Charise J. (Deceased), Administration for Children's Services, Respondent-Respondent. 


The Law Offices of Salihah R. Denman, PLLC, New York (Salihah R. Denman of counsel), for appellant.
Jay A. Maller, New York, attorney for the child.



Appeal from order, Family Court, Bronx County (Keith E. Brown, J.), entered on or about March 23, 2021, which sua sponte dismissed the petition for guardianship of the subject children, unanimously dismissed, without costs.
Application by petitioner's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1st Dept 1976]). The order appealed from was issued sua sponte, not on a motion made on notice, and therefore is not appealable as of right (CPLR 5701[a][3]; Unanue v Rennert, 39 AD3d 289, 290 [1st Dept 2007]). Moreover, a review of the limited record indicates that there are no nonfrivolous issues which could be raised on appeal, since the petition for guardianship was properly dismissed as the children had been placed in the care and custody of the Commissioner of Social Services for the purpose of adoption before the petition was filed  (see Matter of Carmen P. v Administration for Children's Servs., 149 AD3d 577, 577 [1st Dept 2017]; Matter of Arnetta S. v Commissioner of Social Servs. of City of N.Y., 186 AD2d 519, 519 [1st Dept 1992]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 10, 2022








